Case 1:05-cr-00096-PLM           ECF No. 162, PageID.873           Filed 03/22/06       Page 1 of 2




                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:05-cr-00096
                                    )
v.                                  )                 Honorable Gordon J. Quist
                                    )
XAVIER JACQUES JACKSON,             )
                                    )
            Defendant.              )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 22, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Xavier Jacques Jackson entered a plea of guilty to Count Eleven of the Second

Superseding Indictment, charging defendant with possession with intent to distribute heroin in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C), in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
Case 1:05-cr-00096-PLM           ECF No. 162, PageID.874            Filed 03/22/06      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to Count Eleven of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: March 22, 2006                                    /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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